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15
                                   UNITED STATES DISTRICT COURT
16
                                NORTHERN DISTRICT OF CALIFORNIA
17
                                      SAN FRANCISCO DIVISION
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19
     UNITED STATES OF AMERICA,                    Case No. 3:21-CR-00155-JD
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                                                  CARLOS KEPKE’S MOTION IN
                      Plaintiff,
21                                                LIMINE TO EXCLUDE EVATT
                                                  TAMINE TESTIMONY, STATEMENTS,
            v.
22                                                AND EVIDENCE, OR IN THE
                                                  ALTERNATIVE, TO CONTINUE
     CARLOS E. KEPKE,
23                                                TRIAL
                      Defendant.
24                                                Date:        November 28, 2022
                                                  Time:        9:00 a.m.
25                                                Courtroom:   11, 19th Floor
                                                  Judge:       Hon. James Donato
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     MOTION TO EXCLUDE MR. TAMINE OR IN THE ALTERNATIVE
     CONTINUE TRIAL                                                 CASE NO. 3:21-CR-00155-JD
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 1                                        NOTICE OF MOTION
 2          Please take notice that on November 28, 2022, at 9:00 a.m., or as soon thereafter as the
 3   matter may be heard, Defendant Carlos E. Kepke (“Mr. Kepke”) will and does hereby move to
 4   exclude the testimony of, statements of, and/or documents related to Evatt Tamine, or in the
 5   alternative, to continue trial to allow for the production and review of materials seized from Mr.
 6   Tamine’s home and extensive number of electronic devices.
 7          This motion is supported by the Memorandum of Points and Authorities included herein,
 8   all pleadings and papers which are of record and on file in this case, and such other oral and
 9   documentary evidence as may be presented at the hearing of this motion.
10                        MEMORANDUM OF POINTS AND AUTHORITIES
11          Despite months of defense requests, the government has not yet produced important and
12   voluminous discovery it obtained from Evatt Tamine’s home and electronic devices. Though the
13   government previously indicated that Mr. Tamine would not play a role in its case, the
14   government recently suggested that it intends to offer alleged co-conspirator statements from Mr.
15   Tamine and has not ruled out calling Mr. Tamine as a witness in its case. Mr. Kepke accordingly
16   moves to preclude the government from offering Mr. Tamine’s testimony, statements, and
17   documents at trial. In the alternative, Mr. Kepke requests a continuance of the trial to allow the
18   government time to produce and Mr. Kepke time to review the evidence.
19          The government sent the defense a letter on March 10, 2022, explaining that the
20   government had obtained a large amount of materials about Evatt Tamine, which it was working
21   to review. (Decl. of Grant P. Fondo at ¶ 2, Ex. A.) The government said it had produced the first
22   tranche of materials seized from Mr. Tamine’s home in Bermuda, but that it continued to review
23   additional materials from Mr. Tamine’s home for relevance and privilege. (Id.) The government
24   added that a box of paper documents and 1.4 Terabytes of data from Mr. Tamine’s electronic
25   devices were undergoing an offshore review in the United Kingdom. (Id.)
26          Since March, the parties have met and conferred and exchanged correspondence a number
27   of times about the status of this discovery, and the government responded that the offshore review
28   of the documents was ongoing. (Fondo Decl. at ¶ 5.) The discovery deadline of April 25, 2022
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 1   came and went. (ECF No. 34 at 1.) During a meeting on June 1, 2022, the defense emphasized to
 2   the government that the longer the production was delayed, the more unworkable it would be to
 3   review such a voluminous amount of materials before trial. (Fondo Decl. at ¶ 6.) When the
 4   defense again inquired about these materials on November 3, 2022, the government said that the
 5   offshore review of Mr. Tamine’s approximately eight to 15 devices had just recently concluded
 6   and the government had not yet gained access to the documents. (Id. at ¶ 7.) The government
 7   added that it is not sure it will have the documents before trial begins. (Id.) The government does
 8   not know exactly how voluminous the documents are. (Id.)
 9          At the same time the discovery related to Evatt Tamine has been delayed, the government
10   has engaged in a bait and switch about its intentions as to Mr. Tamine. The government provided
11   a notice to the defense in August 2022 that Evatt Tamine was one of eight people it considered a
12   co-conspirator. (Fondo Decl. at ¶ 3, Ex. B.) The notice included no excerpts or summaries of the
13   testimony it intended to offer relating to these co-conspirators. (Id.) The defense raised the issue
14   of the co-conspirator statements during the status conference on October 20, 2022, noting that it
15   had received notice only of the purported co-conspirators and not the co-conspirator statements
16   the government intended to offer. (Tr. at 66:1–66:9, 67:24–68:1.) The Court asked if the
17   government was going to make that disclosure soon. (Tr. at 68:2–3.) The government responded
18   that it usually makes a more robust disclosure of the specific co-conspirator statements, but that in
19   this case the government did not expect it to be a big issue and that the government would
20   provide more clarity for the defense. (Tr. at 68:4–10.)
21          During a meet and confer on November 3, 2022, the subject of the co-conspirator
22   statements again came up. The government said that Evatt Tamine had been on its witness list but
23   now the government does not “think” it will call him. (Fondo Decl. at ¶ 7.) The government
24   added that if it did call Mr. Tamine, it would consider him to be a co-conspirator. (Id.) The
25   government further explained that Mr. Tamine’s emails are included on its exhibit list, but that it
26   would not use these exhibits if Mr. Tamine did not testify. (Id.) On November 5, 2022, the
27   government provided a letter to the defense giving notice that the government does consider Evatt
28   Tamine to be a co-conspirator of Mr. Kepke, and suggested it would offer statements from Mr.
                                                       2
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 1   Tamine. (Fondo Decl. at ¶ 4, Ex. C.) In the witness list the government filed on November 7,
 2   2022, Mr. Tamine is not listed, but the government reserves its right to expand or modify its list.
 3   (ECF No. 128.)
 4          If Mr. Tamine is going to testify at trial, his statements are going to be offered as
 5   evidence, or the government is going to offer exhibits related to him, Mr. Kepke must have an
 6   opportunity to review the outstanding discovery related to Mr. Tamine. This discovery includes
 7   significant materials from Mr. Tamine’s home and several electronic devices. Indeed, given that
 8   Mr. Tamine testified in the competency hearing of Mr. Brockman that he does not believe he
 9   participated in any criminal conduct, it is likely that these materials contain substantial
10   exculpatory information. United States v. Brockman, No. 21-cr-9, ECF No. 252 at 24–25 (S.D.
11   Tx. Mar. 16, 2022). The government’s failure to even review these documents to determine
12   whether any Brady material exists is further cause for concern.
13          Because of the government’s discovery delay and shifting positions as to Mr. Tamine, we
14   are now in a position where we are less than three weeks out from trial, and the defense has not
15   seen and does not know when or even if it will be able to see potentially exculpatory information
16   related to an alleged co-conspirator. In fact, even the government has not reviewed this discovery
17   for exculpatory information. Even if the government were to produce the discovery today, Mr.
18   Kepke would not be able to review 1.4 Terabytes of documents between now and the trial date.
19   This creates a substantial risk that Mr. Kepke will not have access to relevant exculpatory
20   information in time for trial.
21          The government should accordingly be precluded from offering Mr. Tamine as a witness,
22   presenting Mr. Tamine’s statements, and admitting any evidence relating to Mr. Tamine. Fed. R.
23   Crim. P. 16(d)(2) (authorizing exclusion for failure to produce discovery in accordance with
24   scheduling orders); United States v. W.R. Grace, 526 F.3d 499, 516 (9th Cir. 2008) (upholding
25   district court’s exclusion of evidence related to discovery that was not provided by the deadline
26   specified in the court’s pretrial orders); United States v. Talbot, 51 F.3d 183, 187–188 (9th Cir.
27   1995) (similar).
28          In the alternative, if the Court is not inclined to exclude the relevant evidence, Mr. Kepke
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 1   requests a continuance of the trial date to allow Mr. Kepke a reasonable amount of time to review
 2   the Tamine materials. Fed. R. Crim. P. 16(d)(2) (authorizing a continuance for failure to produce
 3   discovery in accordance with scheduling orders).
 4                                               Respectfully submitted,
 5
     Dated: November 10, 2022                    By: /s/ Grant P. Fondo
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 1                                    CERTIFICATE OF SERVICE
 2          I hereby certify that I electronically filed the foregoing with the Clerk of the Court for the
 3   United States District Court for the Northern District of California by using the CM/ECF system
 4   on November 10, 2022. I further certify that all participants in the case are registered CM/ ECF
 5   users and that service will be accomplished by the CM/ECF system.
 6          I certify under penalty of perjury that the foregoing is true and correct. Executed on
 7   November 10, 2022.
 8
                                                    /s/ Grant P. Fondo
 9                                                                  GRANT P. FONDO
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     MOTION TO EXCLUDE MR. TAMINE OR IN THE ALTERNATIVE
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